       Case 2:17-mc-03789-WKW Document 16 Filed 12/05/19 Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )      CASE NO. 2:17-MC-3789-WKW
                                       )
GARY C. LOVELADY,                      )
                                       )
            Defendant,                 )
                                       )
STATE OF ALABAMA,                      )
                                       )
            Garnishee.                 )

                                   ORDER

      The Garnishee has filed an answer (Doc. # 4), and Defendant’s motion

containing an objection has been denied (Doc. # 13). Accordingly, it is ORDERED

that, on or before December 16, 2019, the Government shall file a motion for the

entry of an appropriate disposition order. The Government also shall submit a

proposed order in Word format by transmitting an electronic copy of it as an

attachment to an email message sent to [propord_watkins@almd.uscourts.gov].

      DONE this 5th day of December, 2019.

                                                 /s/ W. Keith Watkins
                                           UNITED STATES DISTRICT JUDGE
